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 8
                               UNITED STATES DISTRICT COURT
 9                                  DISTRICT OF NEVADA

10   United States Of America,                   )   Case No. 2:20-mj-00704-BNW
                                                 )
11                       Plaintiff,              )   Stipulation    To Continue Preliminary
                                                 )   Hearing
12      vs.                                      )                 (Third Request)
                                                 )
13   KELTON SIMON,                               )
                                                 )
14                      Defendant.               )

15

16            IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A
17   Trutanich, United States Attorney; Lisa Cartier Giroux, Assistant United States Attorney;
18   Kimberly Sokolich, Assistant United States Attorney, representing the United States of
19   America and Todd Leventhal, Esq., counsel for defendant Kelton Simon, that the
20   preliminary hearing in the above captioned case, which is currently scheduled January 5,
21   2021 at 1:30pm, be continued and reset to a date and time convenient to the Court, but no
22   sooner than thirty (30) days.
23            1.   The government has provided counsel for the defendant with limited Rule 16
24   Discovery. Counsel for the defendant needs additional time to review the discovery and
                                            1
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 1   discuss it with his client prior to a preliminary hearing or indictment. Additionally, the parties

 2   are discussing a pre-indictment resolution that may resolve the matter without a preliminary

 3   hearing.

 4          2.      This continuance is not sought for purposes of delay, but to allow defense

 5   counsel an opportunity to review discovery with their client and prepare for the preliminary

 6   hearing.

 7          3.      The defendant is not detained and agrees to the continuance.

 8          4.      Both counsel for the defendant and counsel for the government agree to the

 9   continuance.

10          5.      Federal Rule of Criminal Procedure 5.1(d) provides that a magistrate judge

11   may extend the time limits in Rule 5.1(c) with the defendant’s consent and upon a showing

12   of good cause taking into account the public interest in the prompt disposition of criminal

13   cases. Because the defendant requires additional time to review discovery with their client

14   prior to the preliminary hearing, good cause exists to extend the time limits in Rule 5.1(c).

15          6.      The time from January 5, 2021, to the new preliminary hearing date will be

16   excludable under the Speedy Trial Act, Title 18, United States Code, Section 3161(h)(7)(A),

17   which provides that the Court may exclude time arising from a continuance upon finding

18   that the ends of justice served by granting the continuance outweigh the best interests of the

19   defendant and the public in a speedy trial.

20          7.      Denial of this request could result in a miscarriage of justice, and the ends of

21   justice served by granting this request outweigh the best interest of the public and the

22   defendants in a speedy trial.

23          8.      The additional time requested by this stipulation is excludable in computing

24   the time within which the indictment must be filed pursuant to the Speedy Trial Act, Title
                                                   2
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 1   18, United States Code, Section 3161(b), and considering the factors under Title 18, United

 2   States Code, Section 3161(h)(7)(A) and (B)(i) and (iv).

 3          9.     This is the third request to continue the preliminary hearing.

 4                       29 day of December, 2020.
            DATED this ____

 5

 6   NICHOLAS A. TRUTANICH                             /s/ Todd Leventhal
     United States Attorney                           TODD LEVENTHAL
 7                                                    Counsel for Defendant Kelton Simon
     /s/ Lisa C. Cartier Giroux
 8   LISA C. CARTIER GIROUX
     Assistant United States Attorney
 9
     /s/ Kimberly Sokolich
10   KIMBERLY SOKOLICH
     Assistant United States Attorney
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                 Case 2:20-mj-00704-BNW Document 20
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 1                                  UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEVADA
 2
     United States Of America,                          )   Case No. 2:20-mj-00704-BNW
 3                                                      )
                              Plaintiff,                )   Findings and Order on Stipulation
 4                                                      )
          vs.                                           )
 5                                                      )
     Kelton Simon,                                      )
 6                                                      )
                              Defendant.                )
 7

 8
                Based on the pending Stipulation between the defense and the government, and good
 9
     cause appearing therefore, the Court hereby finds that:
10
     1.         The government has provided counsel for the defendant with limited Rule 16
11
                Discovery. Counsel for the defendant requests an opportunity to review the discovery
12
                and discuss it with their respective client prior to a preliminary hearing or indictment.
13
     2.         To allow the defense time to review the discovery with their client prior to the
14
                preliminary hearing and with the defendant’s consent, the preliminary hearing in this
15
                case should be continued for good cause.
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     3.         The defendant is not detained and agrees to the continuance.
17
     4.         Both counsel for the defendant and counsel for the government agree to the
18
                continuance.
19
     5.         This continuance is not sought for purposes of delay, but to allow defense counsel an
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                opportunity to review discovery with their client prior to a preliminary hearing or
21
                indictment.
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                                                    4
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 1   6.    Denial of this request could result in a miscarriage of justice, and the ends of justice

 2         served by granting this request outweigh the best interest of the public and the

 3         defendants in a speedy trial.

 4   7.    The additional time requested by this stipulation is excludable in computing the time

 5         within which the indictment must be filed pursuant to the Speedy Trial Act, Title 18,

 6         United States Code, Section 3161(b), and considering the factors under Title 18,

 7         United States Code, Section 3161(h)(7)(A) and (B)(i) and (iv).

 8         THEREFORE, IT IS HEREBY ORDERED that the preliminary hearing in the

 9   above-captioned matters currently scheduled for January 5, 2021 at 1:30pm, be vacated and

10   continued to ______________________   at AM
                  February 4, 2021, at 11:30  _____.
                                                 in courtroom #3B.

11                    29th day of December, 2020.
           DATED this _____

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14                                              _______________________________
                                                THE HONORABLE BRENDA WEKSLER
15                                              United States Magistrate Judge

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